Case 1:22-bk-10283-MB       Doc 26 Filed 07/26/22 Entered 07/26/22 10:40:34       Desc
                             Main Document    Page 1 of 2

  1   Sevan Gorginian, Esq. (SBN 298986)
      Law Office of Sevan Gorginian
  2   450 N. Brand Blvd. Suite 600
  3   Glendale, CA 91203
      T: 818-928-4445 I F: 818-928-4450
  4   sevan@gorginianlaw.com
  5   Attorney for Debtor
  6
  7                           UNITED STATES BANKRUPTCY COURT

  8                            CENTRAL DISTRICT OF CALIFORNIA

  9                             SAN FERNANDO VALLEY DIVISION

 10
      In re:                                      )   Case No.: 1:22-bk-10283-MB
 11                                               )
                                                  )   Chapter 7
 12   LUSINE CRISTINE DOKUZYAN,                   )
                                                  )
 13                                               )   PROOF OF SERVICE OF ORDER
                                                  )   GRANTING EX PARTE MOTION FOR
 14                                     Debtor.   )   ORDER TO CONTINUE HEARING ON
                                                  )   DEBTOR’S MOTION FOR PROTECTIVE
 15                                               )   ORDER
                                                  )
 16                                               )   [Supplemental Notice of Hearing to be
                                                  )   Held Remotely Using ZoomGov Audio and
 17                                               )   Video filed and served concurrently]
                                                  )
 18                                               )
                                                  )   Hearing
 19                                               )   Date: August 31, 2022
                                                  )   Time: 2:30 p.m.
 20                                               )   Place: Courtroom 303 (Via ZoomGov)
                                                  )          21041 Burbank Boulevard
 21                                               )          Woodland Hills, CA 91367
                                                  )
 22
               TO THE HONORABLE MARTIN BARASH, U.S. BANKRUPTCY JUDGE, AND
 23
      ALL PARTIES:
 24
               Debtor Lusine Dokuzyan (“Debtor”) files this proof of service to establish that
 25
      Debtor served all parties, including the Chapter 7 Trustee and Hovanes Tonoyan, with
 26
      the Order Granting Ex Parte Motion for Order to Continue Hearing on Debtor’s Motion for
 27
      Protective Order [Dkt. 24].
 28
      Date: July 26, 2022                             ________________________
                                                      Sevan Gorginian, Esq.
                                                      Counsel for Debtor
                                                  1
Case 1:22-bk-10283-MB       Doc 26 Filed 07/26/22 Entered 07/26/22 10:40:34               Desc
                             Main Document    Page 2 of 2

  1                               PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
      business address is: 450 North Brand Boulevard, Suite 600, Glendale, CA 91203. A true
  3   and correct copy of the foregoing ORDER GRANTING EX PARTE MOTION FOR ORDER TO
      CONTINUE HEARING ON DEBTOR’S MOTION FOR PROTECTIVE ORDER will be served or
  4   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
      and (b) in the manner indicated below:
  5
  6   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) –
      Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
  7   document will be served by the court via NEF and hyperlink to the document. On 7/26/2022 I
      checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
  8   that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
      the email address(es) indicated below:
  9
         •   Amy L Goldman (TR) marisol.jaramillo@lewisbrisbois.com,
 10
             AGoldman@iq7technology.com;ecf.alert+Goldman@titlexi.com
 11      •   Sevan Gorginian sevan@gorginianlaw.com,
             2486@notices.nextchapterbk.com;ani@gorginianlaw.com
 12      •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

 13   II. SERVED BY U.S. MAIL: On 7/26/2022 I served the following person(s) and/or entity(ies) at
      the last known address(es) in this bankruptcy case or adversary proceeding by placing a true
 14   and correct copy thereof in a sealed envelope in the United States Mail, first class, postage
 15   prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
      to the judge will be completed no later than 24 hours after the document is filed.
 16
      Hovanes John Tonoyan
 17   6627 Beeman Avenue
      North Hollywood, CA 91606
 18
      III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
 19   OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
 20   controlling LBR, on (date) _______________, I served the following persons and/or entities by
      personal delivery, overnight mail service, or (for those who consented in writing to such service
 21   method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
      declaration that personal delivery on, or overnight mail to, the judge will be completed no later
 22   than 24 hours after the document is filed.
 23   I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
 24
 25
 26          7/26/2022        Ani Minasyan                          /s/Ani Minasyan

 27
 28



                                                      2
